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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION


                                             CIVIL ACTION NO. 3:11-cv-00651-G
H-W Technology, L.C.,
                                             Judge A. Joe Fish Presiding
     Plaintiff,
     v.

Apple Inc., et al.

     Defendants.
                                             JURY TRIAL DEMANDED


 PLAINTIFF’S RESPONSE TO DEFENDANTS’ MOTION TO DISMISS UNDER FRCP
   12(B)(6) FOR FAILURE TO STATE A CLAIM UPON WHICH RELIEF CAN BE
  GRANTED OR, IN THE ALTERNATIVE, FOR A MORE DEFINITE STATEMENT
              PURSUANT TO RULE 12(E) AND BRIEF IN SUPPORT




                                      	  
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                                                           Plaintiff H-W Technology, L.C. (“Plaintiff” or “H-W Technology”) files the following

Response to Defendants Amazon.com Incorporated, Amazon Payments, Inc., Apple Inc.,

Buy.com, Inc., Cellco Partnership d/b/a Verizon Wireless, eBay, Inc., Expedia, Inc., Google Inc.,

Hotels.com L.P., HTC Corporation, HTC America, Inc., Kayak Software Corporation, Kyocera

Communications, Inc., Microsoft Corporation, Motorola Mobility, Inc., Orbitz Worldwide, Inc.,

Priceline.com L.L.C., Samsung Electronics Co., Ltd., Samsung Electronics America, Inc.,

Samsung Telecommunications America, LLC, and Sony Ericsson Mobile Communications

(USA) Inc. (“Defendants”) Motion to Dismiss H-W Technology’s Complaint pursuant to Fed. R.

Civ. P. 12(b)(6) for allegedly failing to state a claim upon which relief can be granted or, in the

alternative, for a more definite statement pursuant to Rule 12(e) (“Motion”).

I.                                                         INTRODUCTION AND SUMMARY OF ARGUMENT

                                                           H-W Technology is the owner of the entire right, title and interest to the U.S. Patent No.

7,525,955 (“the ‘955 Patent”). The ‘955 Patent discloses and claims systems, methods and

apparatus for performing contextual searches on an Internet Protocol (IP) Phone1. The ‘955

Patent comprises 24 claims, three of which are independent.                                                                                                                                                                                         On March 30, 2011, H-W

Technology filed suit against the Defendants alleging, inter alia, that certain of their products

and methods infringe claims of the ‘955 Patent. (Dkt. No. 1). On April 19, 2011, Plaintiff filed

its Amended Complaint. (Dkt. No. 38). Defendants filed their Motion to Dismiss on August 8,

2011 (the “Motion”). (Dkt. No. 195).

                                                           In a thinly veiled attempt to have the Court prematurely decide the merits of this case, the

Defendants’ Motion does little more than ask this Court to adopt Defendants’ own private

resolution of issues of law and fact. The Defendants’ Motion is fatally flawed in three important
	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
1
 According to the ‘955 Patent an IP Phone is a device capable of converging voice and data unto a single device.
Plaintiff has alleged in its Complaint that such a device includes the modern day “smartphone” a device capable of
converging voice communications and access to data on the Internet.	  


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respects: first, contrary to Defendants’ assertion, independent claims 1 and 17 are not indefinite

as they do not recite two statutory classes of invention; second, Defendants incorrectly assert that

independent claim 9 of the ‘955 Patent requires joint infringement; and third, if the Court finds

that joint infringement is necessary, Plaintiff’s pleading is sufficient under the appropriate

standards.

       Defendants’ attempt to equate claims of the ‘955 Patent to claims which other Courts

have found indefinite and therefore invalid under the patent statute must fail. Specifically, for

purpose of a Rule 12(b) motion to dismiss, Plaintiff is entitled to a construction of the claims in

question in a way that do not make them indefinite. Thus, while it is true that claims combining

two statutory classes of invention into a single claim have been held invalid, claims 1 and 17 of

the ‘955 Patent can be construed to avoid such a combination.

       For example, a claim reciting “A shovel for digging a hole and a method of using a

shovel for digging a hole” would be considered indefinite as it combines a thing, i.e. a shovel,

and a method of using a thing into single claim. In contrast, the claims of the ‘955 Patent does

not combine a system and method of using a system into a single claim. In fact, a simple review

of Claim 1 reveals that it is clearly directed to an IP Phone and not to a method of using an IP

Phone. Similarly, claim 17 is directed to an apparatus, namely a tangible computer readable

medium, and not to a method of using such a medium. At best, claims 1 and 17 of the ‘955

Patent incorporate functional limitations that limit the structure of the system or apparatus claims

and inform one of ordinary skill in the art when these claims are infringed.             Therefore,

Defendants have failed to meet their significant Rule 12(b) burden to show that H-W Technology

is not entitled to any form of recovery based on its allegation that Defendants have infringed

claims 1 and 17 of the ‘955 Patent.



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                                                           The more overriding issue, however, is the appropriateness of considering the validity of

claims of the ‘955 Patent in a Rule 12(b) Motion to Dismiss.                                                                                                                                                                                         The primary cases which

Defendants rely on for their allegations of indefiniteness were considered and ruled upon at

summary judgment, presumably after the benefit of discovery, claim construction and expert

testimony. Thus, contrary to what Defendants would have this Court believe, the validity of

patent claims is seldom a foregone conclusion ripe for disposition under Rule 12(b).                                                                                                                                                                                      In

particular, Defendants have not cited a single case where a Court has granted a Rule 12(b)

motion to dismiss on the basis that patent claims are indefinite due to joinder of separate classes

of invention2. As explained more fully below, there are good reasons why Courts have been

reluctant to dismiss patents suits for such reasons.

                                                           By glossing over the claim language and triumphantly proclaiming claims 1 and 17 of the

‘955 Patent as invalid, Defendants are in essence requesting summary judgment of this issue.

Moreover, the articulated concerns that courts have had with claims that purportedly recite both

systems and methods are not presented by the claims of the ‘955 Patent as there is no confusion

as to the nature or when they are infringed. Specifically, courts that have dealt with similar

arguments of indefiniteness have been primarily concerned with the problem of not being able to

determine whether a claim is one directed at a system/apparatus or a method of using such a

system/apparatus. Indeed, the only difference between those cases and the instant case is that

they were decided after the benefit of discovery and expert testimony and not prematurely on a

motion to dismiss.

                                                           Second, the Defendants tacitly attempt to force the Court to adopt their premature and


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
2
     	  In their Motion Defendants cleverly claim “In situations analogous to this one.” although not a single case cited by
them involves dismissal under Rule 12(b) based on a finding that patent claims are hybrid. Dkt No. 195 at p.4.
	  


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self-serving construction of terms in independent claim 9 of the ‘955 Patent.3 Specifically, the

Defendants ask this Court to require that infringement be the result of the actions of two separate

entities. Thus, Defendants assume that two separate entities are required in order to practice the

method claims of the ‘955 Patent but that argument would require a construction of the claims in

question.                                                                                   Defendants’ “do-it-yourself,” claim construction usurps the Court’s role as sole

interpreter of patent claims, distorts the patent claims’ literal language and ignores at least one

alternative construction which may be adopted as the Court’s construction. Without a doubt,

claim interpretation is the exclusive province of the Court and cannot be usurped by a party,

particularly in the context of a Rule 12(b)(6) Motion to Dismiss on the pleadings.

                                                           For example, in their Motion, Defendants’ continuously stress that a “user” of an IP

Phone is a second party required to perform the method steps of the ‘955 Patent. Inherent in this

argument is the assumption that a “user” is a party separate and distinct from a defendant in the

lawsuit. Yet, the plain and ordinary meaning of the term “user” is one who uses.4 H-W

Technology is prepared to demonstrate that each and every defendant is a user in that each and

every defendant directs and controls at least one software program which is executed on an IP

Phone and which allows a defendant to use the IP Phone to perform all the steps of the method

claims of the ‘955 Patent5. Thus, should the Court adopt H-W Technology’s proposed claim

construction of a “user,” each and every defendant would be using an IP Phone to perform the

steps of the method claims of the ‘955 Patent.
	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
3
 H-W Technology respectfully notes that, as of the date of filing of this Response, the Court has yet to issue its
construction of any of the claims of the ’955 Patent. Nor have the parties exchanged any of the disclosures required
by P.R. 4 (“Claim Construction Proceedings”).
4
  It is black letter patent law that the starting point for claim construction is the plain and ordinary meaning of a
term. See generally Phillips v. AWH Corporation, 415 F.3d 1303 (Fed. Cir. 2005)
5
 The ‘955 Patent refers to these programs as Domain Specific Applications or DSAs. A DSA is a program which
uses and IP Phone in the sense that it causes the processor, memory and other components of the IP Phone to
perform functions which is a use of the IP Phone.


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        As to Defendants’ third flawed assertion, H-W Technology has properly plead a theory

of infringement. Plaintiff’s Complaint properly states claims upon which relief may be granted

and alleges specific facts in support thereof, thereby fulfilling the pleading standard of FED. R.

CIV. P. 8. At the pleading stage, nothing more is required. Defendants, however, conflate the

standard for pleading a cause of action under FED. R. CIV. P. 8 with the more stringent standard

for proving a cause of action. Thus, Defendants’ Motion prematurely asks the Court to rule on

the merits of H-W Technology’ infringement claim by both requiring the Court to adopt their

claim constructions and then rule on the merits of the infringement claims.

       In short, Defendants’ Motion is essentially a request for summary judgment based upon

Defendants’ own claim constructions and an equivocation of the more stringent standard for

proving the merits of a claim with the standard for merely pleading a claim. While the merits of

infringement are rightly considered at trial or in a motion for summary judgment, such

arguments are misplaced in a motion to dismiss—which considers merely the sufficiency of

Plaintiff’s pleading of infringement. Defendants’ conflation of the requirements for merely

pleading a claim on the one hand, and proving the merits of that claim on the other, permeates

the Motion.

       For the reasons previewed above and discussed below, H-W Technology respectfully

requests that the Court deny Defendants’ Motion.

II.    LEGAL STANDARDS

              A.      Motions to Dismiss Under Fed. R. Civ. P. 12(b)(6)
	  
       Motions to dismiss for failure to state a claim are viewed with disfavor and are seldom

granted. See Collins v. Morgan Stanley Dean Witter, 224 F.3d 496, 498 (5th Cir. 2000). To

survive a motion to dismiss, a complaint must contain sufficient factual matter which, when



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accepted as true, states a claim for relief that is plausible on its face. See Twombly 550 U.S. at

570; Iqbal 129 S. Ct. at 1949. A claim has facial plausibility when a plaintiff pleads factual

content that allows the court to draw a reasonable inference that the defendant is liable for the

misconduct alleged. Twombly 550 U.S. at 556; Iqbal 129 S. Ct. at 1949. “The plausibility

standard is not akin to a ‘probability requirement,’ but it asks for more than a sheer possibility

that a defendant has acted unlawfully.” Iqbal, 129 S. Ct. at 1949 (emphasis added).

       Thus, in ruling upon a Rule 12(b)(6) motion, the Court cannot decide disputed fact issues.

The court may grant a motion under Rule 12(b)(6) only if it can determine with certainty that the

plaintiff cannot prove facts that would allow the relief sought in the complaint. See Hishon v.

King & Spalding, 467 U.S. 69, 73 (1984); Scanlan v. Texas A&M Univ., 343 F.3d 533, 536 (5th

Cir. 2003).

       A motion to dismiss for failure to state a claim admits the facts alleged in the complaint,

but challenges the plaintiff’s right to any relief base on those facts. See Crowe v. Henry, 43 F.3d

198, 203 (5th Cir. 1995) (emphasis added). The issue is not whether the plaintiff will ultimately

prevail, but whether the plaintiff can offer evidence to support its claims. See Scheuer v. Rhodes,

416 U.S. 232, 236 (1974). As a result, a court must draw all inferences in favor of the plaintiff.

See Collins, 224 F.3d at 498.

              B.      The Pleading Standard
	  
       A complaint must contain “a short and plain statement” of the claim. FED. R. CIV. P.

8(a); Swierkiewicz v. Sorema, 534 U.S. 506, 512 (2002); Walker v. South Cent. Bell Tel. Co., 904

F.2d 275, 277 (5th Cir. 1990). Each averment must be simple, concise and direct. FED. R. CIV.P.

8(e)(1). The pleading standard under Rule 8 does not require detailed factual allegations, but

does require more than an unadorned accusation. See Bell Atlantic Corp. v. Twombly, 550 U.S.



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544, 555 (2007); Ashcroft v. Iqbal, 556 U.S. ___, 129 S. Ct. 1937, 1949 (2009). If no specific

provision imposes a heightened pleading requirement, the “short and plain” requirement of Rule

8(a) applies. See Swierkiewicz, 534 U.S. at 513.

       A pleading may be based on information and belief. FED. R. CIV. P. 11(b). A complaint

in this form is appropriate when the matters are within the knowledge of the defendant. See

Tuchman v. DSC Comms., 14 F.3d 1061, 1068 (5th Cir. 1994).          A plaintiff is not required to

correctly specify a legal theory, so long as the plaintiff alleges facts upon which relief may be

granted. See McManus v. Fleetwood Enters., 320 F.3d 545, 551 (5th Cir. 2003) (emphasis

added). A complaint is not inadequate simply because an element of its claim is omitted, so long

as the element may be fairly inferred from the pleading as a whole. See Walker, 904 F.2d at 277.

             C.       Claim Construction Standard
	  
       In deciding whether a method or a device infringes a patent claim, two inquiries are

involved. First, the scope of the claim must be determined by the Court. Then – and only then –

the accused product is analyzed for infringement with reference to the properly-construed claim.

Markman v. Westview Instruments, Inc., 517 U.S. 370, 372 (1996). The claims of a patent define

the metes and bounds of the exclusive right that the patent confers on the patentee. Corning

Glass Works v. Sumitomo Elec., 868 F.2d 1251, 1256 (Fed. Cir. 1989). Claim construction is a

matter of law exclusively for the court to decide. Markman v. Westview Instruments, 52 F.3d

967, 976 (Fed. Cir.) (en banc), aff’d, 116 S. Ct. 1384, 1393 (1996). “The Federal Circuit [has]

stated that the ‘purpose of claim construction is to “determin[e] the meaning and scope of the

patent claims asserted to be infringed.”’” Epicrealm Licensing, LP v. Autoflex Leasing, Inc., Slip

Copy, 2008 WL 5784214 (E.D. Tex. 2008) (internal citations omitted). In other words, “Courts

construe claim terms in order to assign a fixed, unambiguous, legally operative meaning to the



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claim.” Chimie v. PPG Indus., Inc., 402 F.3d 1371, 1377 (Fed. Cir. 2005) (internal citations

omitted). Claim construction differing from that proffered by the court is therefore irrelevant.

Markman, 52 F.3d. 967. Ultimately, a court must construe claims according to the standard of

what the words of a claim would have meant to one skilled in the art at the time of invention.

Kustom Signals v. Applied Concepts, Inc., 264 F.3d 1326, 1331 (Fed. Cir. 2001).

III.   ARGUMENT

       The Defendants have gone through great lengths to get this Court to convert their Motion

to Dismiss into a Motion for Summary Judgment. Indeed, the Defendants prematurely conclude

that Claims 1 and 17 of the ‘955 Patent are facially invalid, that claim 9 requires joint

infringement and that H-W Technology has failed to properly plead a theory of recovery with the

requisite sufficiency. Tellingly, Defendants’ Motion ignores the distinguishing characteristics

between the claims found in the IPXL Holdings or In Re Katz Cases and those at issue here,

ignores established case law about the impropriety of holding claims invalid prior to the Court’s

claim construction and, is at best, a premature attempt to get two bits at the proverbial summary

judgment apple. Moreover, the Defendants raise several issues that are inappropriate for a

Motion to Dismiss and instead should be raised during claim construction proceedings, or

alternatively, in a Motion for Summary Judgment.

       Indeed, Defendants construe terms of select claims and then analyze infringement of the

claims based on their own private constructions. Secondly, Defendants incorrectly assert that H-

W Technology has failed to properly plead a theory of recovery based on their conclusion that

the only way for H-W Technology to recover is to plead joint infringement. Defendants’

motives are clear: get the Court to rule on the merits of H-W Technology’ cause of action before

material issues of both fact and law (e.g., claim construction) have been adjudicated and to call



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such a ruling on the merits a failure to plead a cause of action. As shown below, dismissal under

Rule 12(b)(6) is improper, and Defendants’ Motion must be denied.

                                                                                                       A.                                                                        Claims 1 And 17 of ‘955 Patent Are Not Indefinite Under
                                                                                                                                                                                 The Standards Set in the IPXL Holdings or In Re Katz
                                                                                                                                                                                 Cases

                                                           Contrary to the Defendants’ assertion, Claims 1 and 17 of the ‘955 Patent are directed

toward one statutory class of invention and as such, are not indefinite under the IPXL Holdings

or In Re Katz line of cases. The primary basis for Defendants’ contention that claims 1 and 17

of the ‘955 Patent are invalid is that these claims are “similar” to claims which the Federal

Circuit has found invalid in IPXL Holdings, L.L.C. v. Amazon.com, Inc., 6 and In re Katz

Interactive Call Processing Patent Litig.7 (Dkt. No. 195, p. 6.8) In IPXL Holdings, the Court

found one9 out of 32 claims in US Patent No. 6,149,05510 (“the ‘055 Patent”) invalid under 35

U.S.C. § 112 holding the claim attempted to cover both an apparatus and method in a single

claim. See IPXL Holdings, 430 F.3d at 1383 (Fed. Cir. 2005). Similarly in In re Katz, the Court,

found three out of 89 claims11 indefinite and held that “…the claims […] create confusion as to

when direct infringement occurs.” In re Katz, 639 F.3d 1303 at 1328 (Fed. Cir.2011).

                                                           Contrary to the Defendants unequivocal proclamation that claims 1 and 17 are indefinite

and therefore invalid, no Rule 12(b) basis exists for the determination of when a claim is invalid

under the rationale of the IPXL Holdings and In re Katz cases. At best, the IPXL Holdings and

In re Katz Courts were concerned with 1) claims that include both a system and a method of

	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
6
  430 F.3d 1377 (Fed. Cir. 2005)
7
  639 F.3d 1303 (Fed. Cir.2011).
8
  Interesting enough, in their allegation of similarity the Defendants make no mention of the fact that both the IPXL
and In re Katz cases involved a review of lower court rulings on summary judgment and not a Rule 12 Motion to
Dismiss.
9
  The Court in IPXL Holdings focused solely on claim 25 of the ‘055 Patent.
10
   See also attached Exhibit A, a copy of the ‘055 Patent.
11
   See also attached Exhibit B, copy of US Patent No. 5,917,893 (the ‘893 Patent which the subject of the Court’s
decision).


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using the system; and 2) the potential for confusion as to when direct infringement occurs due to

a lack of clarity that may be presented by such claims. Because both claims 1 and 17 of the ‘955

Patent are clearly directed to a system or apparatus, respectively, neither claim 1 nor claim 17 of

the ‘955 Patent recite two statutory classes of invention. Moreover, claims 1 and 17 do not

present the potential for confusion which the IPXL Holdings and In Re Katz Court used to

invalidate claims in those cases.

               1.       The Claims Invalidated by the IPXL Holdings Court Are Not
                        Analogous To Those Presented Here

       Claims 1 and 17 of the ‘955 Patent are patently distinguishable from those held invalid by

the Court in IPXL Holdings and as such are both valid and definite. Independent claim 1 of the

’955 Patent requires:

       1.       A system, comprising: an Internet Protocol (IP) phone coupled to a server,
       wherein said IP phone is configured to receive contextual information from said
       server, wherein said IP phone comprises: a memory unit operable for storing a
       computer program for performing contextual searches; a processor coupled to said
       memory unit, wherein said processor, responsive to said computer program,
       comprises: circuitry for receiving a command to perform a contextual search;
       circuitry for receiving search criteria; circuitry for submitting said search criteria
       to said server; and circuitry for receiving from said server a list of merchants
       matching said search criteria and information regarding each of said merchants in
       said list; wherein a user of said IP phone completes a transaction with at least
       one of said merchants listed without the need to generate a voice call; wherein
       said information received by said user of said IP phone comprises a variety of
       offers, wherein said user selects one of said variety of offers associated with
       said one of said merchants listed, wherein said selected offer is transmitted to
       said one of said merchants listed electronically; and wherein said user's contact
       and payment information is not transmitted to said one of said merchants listed,
       wherein said user's contact and payment information is available to said one of
       said merchants listed. (emphasis added).

Similarly, independent claim 17 of the ‘955 Patent provides:

       17.     A tangible computer readable medium encoded with computer program
       for performing contextual searches on an Internet Phone (IP) phone comprising
       the steps of: receiving a command to perform a contextual search; receiving
       search criteria from a user of said IP phone; submitting said search criteria to a


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       server coupled to said IP phone; and receiving from said server a list of merchants
       matching said search criteria and information regarding each of said merchants in
       said list; wherein said user completes a transaction with at least one of said
       merchants listed without the need to generate a voice call; wherein said
       information received by said user comprises a variety of offers, wherein said
       user selects one of said variety of offers associated with said one of said
       merchants listed, wherein said selected offer is transmitted to said one of said
       merchants listed electronically; and wherein said user's contact and payment
       information is not transmitted to said one of said merchants listed, wherein said
       user's contact and payment information is available to said one of said merchants
       listed. (emphasis added).

Defendants argue that the highlighted portions of claims 1 and 17 above render the entirety of

these claims invalid because both claims contain methods steps that must be performed by the

user of the system and because an accused infringer cannot tell if the claim is infringed when the

claimed system is sold or when a user performs the method steps. See Dkt. No 195 at p. 7.

Defendants’ Motion is devoid of concrete analysis and in its stead, provides conclusory

statements, which do little to aid the Court.

       Comparing the above to the claim held invalid by the IPXL Court, it is clear claim 1 of

the ‘955 Patent does not claim both a system and a method of using such a system.

       The IPXL Court analyzed the following claim:

       “The system of claim 2 wherein the predicted transaction information comprises
       both a transaction type and transaction parameters associated with that transaction
       type, and the user uses the input means to either change the predicted
       transaction information or accept the displayed transaction type and
       transaction parameters.” See ‘055 Patent, col. 22, lines 8-13 (emphasis
       added).

       In holding a patent claim indefinite, the IPXL Court observed “it is clear that reciting both

an apparatus and a method of using that apparatus renders a claim indefinite under section 112,

paragraph 2.” Id. at 1383 (citing the Board of Patent Appeals and Interferences and Ex parte

Lyell, 17 USPQ2d 1548 (1990)). The Court further analyzed the contested claim and found “it

is unclear whether infringement of claim 25 occurs when one creates a system… or whether


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infringement occurs when the user actually uses the input means… .” Id. “Because claim 25

recites both a system and the method for using that system, it does not apprise a person of

ordinary skill in the art of its scope, and it is invalid under section 112, paragraph 2.” Id.

                                                           Clearly the above claim includes a system, i.e. “predicted transaction information,” and a

method of “using an input means to…. change the predicted transaction information.”

Conversely as noted above, claim 1 of the ‘955 Patent is directed to “A system, comprising an

Internet Phone coupled to a server.” Additionally, claim 17 of the ‘955 Patent is directed to “A

tangible computer readable medium. . .” Nowhere in either claim is their an attempt to include a

method for using a system comprising an Internet Phone coupled to a server or a method for

using a tangible computer readable medium. Indeed, the wherein clauses Defendants seek to

characterize as method steps are in fact functional limitations which limit certain of the recited

structural elements. More specifically, the disputed wherein clauses do not claim or attempt to

claim the method of using an IP Phone. Thus, claims 1 and 17 of the ‘955 Patent do not recite an

apparatus and a method in a single claim.

                                                           To be sure, the following table summarizes the many differences between the claim held

invalid by the IPXL Court and claims 1 and 17 of the ‘955 Patent:

   IPXL ‘055 Patent Claim                                                                                                                                                                                                                              Claim 1 of ‘955 Patent      Claim 17 of the ‘955 Patent
         Held invalid
Dependent System Claim                                                                                                                                                                                                                              Independent System Claim     Independent Apparatus Claim
By word count Claim is                                                                                                                                                                                                                              At best 2 sentences out of 9 At best 2 sentences out of 9
Approximately ½ Method and                                                                                                                                                                                                                          are method steps12           are method steps
½ System
Contains phrase “a user                                                                                                                                                                                                                             No such equivalent. A “userNo such equivalent. A “user
uses….” language which                                                                                                                                                                                                                              selects” doesn’t imply a   selects” doesn’t imply a
directly which recites                                                                                                                                                                                                                              method of using an IP Phone,
                                                                                                                                                                                                                                                                               method of using and a tangible
methodology for using the                                                                                                                                                                                                                           the system of the claim    computer readable medium,
system of the claim                                                                                                                                                                                                                                                            the apparatus of the claim
Hard to tell when claim is                                                                                                                                                                                                                          Easy to tell when claim is Easy to tell when claim is
	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
12
  H-W Technology does not concede that these are method steps but are characterized as such herein for
comparative purposes only.


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   IPXL ‘055 Patent Claim                                                                                                                                                                                                                             Claim 1 of ‘955 Patent    Claim 17 of the ‘955 Patent
         Held invalid
infringed                                                                                                                                                                                                                                           infringed                   infringed
Claim held invalid at                                                                                                                                                                                                                               Defendants would have the   Defendants would have the
Summary Judgment                                                                                                                                                                                                                                    matter decided on a Rule    matter decided on a Rule
                                                                                                                                                                                                                                                    12(b) Motion to Dismiss     12(b) Motion to Dismiss
Claim Terms Construed                                                                                                                                                                                                                               No Claim Construction       No Claim Construction

                                                                                                                      2.                                                         Claims 1 and 17 Create No Infringement Confusion.

                                                           Defendants simply conclude but have not met their Rule 12(b) burden of showing that

Claims 1 and 17 of the ‘955 Patent create confusion as to when the claims are infringed and, as

such, their Motion should be denied. Confusion was the central issue guiding the holding in both

IPXL and In Re Katz in which the Court noted “the claims […] create confusion as to when

direct infringement occurs.” In re Katz, 639 F.3d 1303 at 1328 (Fed. Cir.2011). In so doing, the

In re Katz Court distinguished claims of the patent in question from those in Microprocessor

Enhancement Corp. v. Texas Instruments, Inc.,13 where a challenge to the validity of claims

having both method and system limitations was overcome by the patent holder.

                                                           H-W Technology believes claims 1 and 17 of the ‘955 Patent are more analogous to those

found in Microprocessor Enhancement Corp. as opposed to those in In re Katz. Citing IPXL

Holdings, the defendant in Microprocessor Enhancement argued that asserted claim 1 is invalid,

because the claim includes both apparatus and method step recitations. The claim in

Microprocessor Enhancement recited a “method of executing instructions in a pipeline processor

comprising: [structural limitations on the processor], said method further comprising the steps of:

[steps implemented in the processor, including fetching, performing, etc.].” Id. at 1374. Thus,

on the surface, the claim appears to impermissibly mix two subject matter classes, i.e., apparatus

and method steps.                                                                                                                                                                      Id. However, according to the Federal Circuit, the Microprocessor


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
13
          	  520 F.3d 1367, 1374-75 (Fed. Cir. 2008)	  


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Enhancement claim is not indefinite for including the two types of recitations, because the

structural limitations on the processor simply constrain the type of processor that performs the

recited steps. Id.

       Here, like in Microprocessor Enhancement Corp., H-W Technology believes the wherein

clauses of claims 1 and 17 are not impermissible method steps, but instead are structural

limitations on the type of IP Phone necessary for infringement. Indeed, all IP phones are not at

issue in this litigation. As the wherein clauses make clear, only IP Phones with the necessary

structure capable of performing certain transactions are at issue. In this regard, the infringing

actor is clear, namely the manufacturer of the IP Phone capable of completing certain merchant

transactions. In view of the foregoing, Defendants’ Motion should be denied.

               3.     Defendants Have Not Met Their High Burden of Showing
                      Indefiniteness.

       Under 35 U.S.C. § 112, ¶ 2, the claims of a patent must “particularly point[ ] out and

 distinctly claim[ ] the subject matter which the applicant regards as his invention.” “A claim is

 considered indefinite if it does not reasonably apprise those skilled in the art of its scope.” IPXL

 Holdings, L.L.C. v. Amazon.com, Inc., 430 F.3d 1377, 1383-84 (Fed.Cir.2005). “Because a claim

 is presumed valid, a claim is indefinite only if the ‘claim is insolubly ambiguous, and no

 narrowing construction can properly be adopted.’ ” Honeywell Int'l, Inc. v. Int'l Trade Comm'n,

 341 F.3d 1332, 133839 (Fed.Cir.2003) (quoting Exxon Research & Eng'g Co. v. United States,

 265 F.3d 1371, 1375 (Fed.Cir.2001)).

       In their Motion, Defendants did not even attempt to rebut the potential for a narrowing

 construction. Since the claims of the ‘955 Patent are presumed valid, for this reason alone, their

 Motion should be denied.




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               4.     The ‘955 Patent was Examined and Issued under the Underlying
                      Principles Which Guided the IPXL Holdings and In re Katz cases.

       The concerns which the IPXL Holdings and In re Katz cases had with indefinite claims

 were rooted in a 1990 opinion by the Board of Patent Appeals and Interferences. See Ex parte

 Lyell, 17 USPQ2d 1548 (BPAI 1990).            As noted in IPXL Holdings “The Board of

 Patent Appeals and Interferences (“Board”) of the PTO, however, has made it clear that reciting

 both an apparatus and a method of using that apparatus renders a claim indefinite under section

 112, paragraph 2” IPXL Holdings at 1383 citing Ex parte Lyell, 17 USPQ2d 1548

 (BPAI 1990). IPXL Holdings also noted that the rule is well recognized and has been

 incorporated into the PTO’s Manual of Patent Examination Procedure. § 2173.05(p)(II) (1999).

        The ‘955 Patent issued from an application filed on March 15, 2005. Presumably,

 therefore, the US Patent and Trademark Office (“USPTO”) utilized their own examination

 standards adopted in 1999 to examine and issue an application filed in 2005 such as the one

 leading to the issuance of the ‘955 Patent. Yet again, the Defendants have not bothered to rebut

 either the initial presumption of validity of the ‘955 Patent nor the presumption that the USPTO

 was aware of the issues involved in both the IPXL Holdings and In re Katz cases and still

 decided to issue the ‘955 Patent.

             B.       H-W Technology Has Stated a Claim Upon Which Relief
                      May be Granted And Is Not Limited to a Joint
                      Infringement Theory of Infringement of its Method
                      Claims.

       In requesting the Court dismiss H-W Technology’s claim of infringement, Defendants

assume H-W Technology’s only theory of infringement is joint infringement. As with their

arguments relating to claims 1 and 17 of the ‘955 Patent, this argument is based solely on



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Defendants privately construing the terms of claim 9 and then analyzing infringement of the

claim based on their own private constructions. As such, Defendants incorrectly assert that H-

W Technology has failed to properly plead a theory of infringement.

       Defendants would have the Court conclude that dismissal is appropriate based on a thinly

veiled attempt at equivocation: an effort to get the Court to rule on the merits of H-W

Technology’ cause of action before material issues of both fact and law (e.g., claim construction)

have been adjudicated, and to call such a ruling on the merits a failure to plead a cause of action.

As shown below, dismissal under Rule 12(b)(6) is therefore improper, and Defendants’ Motion

must be denied.

               1.      Defendant’s Assertions Regarding Claim 9 Are Based on Their Own
                       Private Constructions of Claim Terms Which Effectively Require the
                       Court to Decide the Merits of the Case.

       In their Motion, Defendants assert that joint infringement is the only theory of recovery

allowed under Claim 9 of the ‘955 Patent and that H-W Technology has failed to plead joint

infringement. See Motion, page 9. Defendants construe claim 9 to their benefit and then

contend that more than one entity is required to perform the steps of method claim 9. Thus,

although styled as a motion to dismiss under FED. R. CIV. P. 12(b)(6), Defendants effectively ask

this Court, first, to adopt their own interpretation of claim 9 of the ‘955 Patent and, second, to

rule on the merits of H-W Technology’ infringement claims.

       Defendants mistakenly construe claim 9 of the ‘955 Patent to require the combined

activity of multiple entities. See Motion, page 10. Specifically, Defendants assert that steps of

Claim 9 require at least two distinct parties to perform each step of the claimed methods. Id.

This theory of infringement, however, relies entirely on Defendants’ spuriously narrow, private

claim constructions. Finally, Defendants argue that because H-W Technology has failed to plead



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joint infringement, H-W Technology fails to state a claim upon which relief may be granted. Id.

       Contrary to the Defendants’ assertions, the language of claim 9 of the ‘955 Patent can be

construed so the claim is performed by a single actor. For example, Defendants assume the step

“receiving search criteria from a user of the IP Phone” must be performed by more than one

party. Id. at page 11, ¶ 1. Apparently, Defendants construe the term “user” to be someone other

than a party “receiving” the search criteria. An alternative construction of the term “user”,

however, can consist of an application or software program that executes on an IP Phone such as

a smartphone. The plain and ordinary meaning of the term “user” is to use or utilize and, as

such, H-W Technology should have an opportunity to request a construction of that term

consistent with its plain and ordinary meaning.

       Because the Motion is a Rule 12(b)(6) motion for dismissal, H-W Technology must be

given the benefit of a potential alternative construction of the patent claim language. Until the

Court has issued proper claim constructions—after full and proper consideration during a

Markman hearing—there is no basis to require (as Defendants do) that a “user” be construed to

be a separate entity from the entity receiving search criteria. See Markman, 52 F.3d at 976;

Epicrealm, 2008 WL 5784214 (E.D. Tex. 2008); Chimie, 402 F.3d at 1377.

       In particular, H-W Technology believes that two or more of the “roles” described in

claim 9 of the ‘955 Patent can be fulfilled by a single entity. For example, it is at least plausible

that a single party could cause the execution of a program on an IP Phone, to thereby “use” the

IP Phone to submit search criteria to a server operated and maintained by the same party. It is

also conceivable that operational divisions of a single enterprise could fulfill both the role of a

user and a party receiving search criteria. Defendants’ claim construction is not only premature,

usurping, and unfounded, but Defendants’ interpretation that the claims require two independent



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parties is also improperly narrow.

          Because Defendants’ Motion is premised upon its own self-serving construction of claim

terms, Defendants’ Motion must be denied. The Motion again relies upon its erroneous claim

construction, requiring that all claims of the ‘955 Patent “involve at least two entities” to dispute

the sufficiency of the infringement allegation in the amended complaint. Based upon their own,

private claim construction, Defendants argue the amended complaint fails to properly plead that

Defendants’ methods infringe claim 9 of the ‘955 Patent.

          Upon information and belief, and as pled in its amended complaint, H-W Technology

believes that Defendants individually perform the recited steps. Consequently, the method

claims do not require the actions of two separate entities and Defendant’s motion should be

denied.

                 2.     Even if the Court Agrees With Defendants’ Constructions, H-W
                        Technology Properly Pled Joint Infringement.

          Even if the Court agrees at this early, pre-Markman stage that Defendants’ have

accurately construed the claims, the amended complaint further includes language sufficient to put

each Defendant on notice of an alternative joint infringement theory as Count 1 of the amended

complaint states that most Defendants have, upon information and belief, “been infringing…by

making, using, offering to sell, selling or importing products and methods that utilize, in whole

or in part…       .”   See Dkt. No. 38 at pp. 15-24. The foregoing factual allegations meet the

standard for pleading under FED. R. CIV. P. 8. As noted previously, H-W Technology’ pleading

burden is merely to make a “short and plain statement” of its allegations. See FED. R. CIV. P.

8(a); Swierkiewicz at 512; Walker at 277; Fed. R. Civ. P 8(e)(1). Neither Twombly nor Iqbal

change this standard; indeed, both explicitly state that “the pleading standard [FED. R. CIV. P.]

does not require ‘detailed factual allegations.’” Iqbal, 129 S. Ct. at 1949 (citing Twombly, 550


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U.S. at 555) (emphasis added). Furthermore, H-W Technology is not required to provide an

exhaustive, element-by-element listing of all legal theories of infringement in its complaint, as

Defendants’ Motion seems to suggest. See McManus, 320 F.3d at 551. To survive Defendants’

Motion to Dismiss, H-W Technology’ amended complaint need merely contain sufficient factual

matter which, when accepted as true, shows a plausible claim that Defendants are liable for the

misconduct. See Twombly 550 U.S. at 556; Iqbal 129 S. Ct. at 1949. H-W Technology has done

so.

       Defendants’ Motion rejects proper 12(b)(6) analysis by shifting away from the foregoing

principles and incorrectly evaluating H-W Technology’s amended complaint under the principle

that a “claim based on joint infringement requires the specific identification of second parties or

other facts necessary to support a claim for joint infringement such as the exercise of ‘direction

or control’ over the second party. Although the foregoing may be an accurate statement of the

requirements for proving joint infringement, it is not the standard for pleading a claim for joint

infringement. This transposition of the more stringent standard for proving joint infringement

with the standard for merely pleading joint infringement constitutes a flagrant attempt at

equivocation: Defendants would have the Court rule for 12(b)(6) dismissal based not on the

standard for pleading, but instead based on the probability of prevailing on the merits of joint

infringement under extra-judicial claim constructions.

       Moreover, even if the Motion had correctly cited the pleading standard, and even if the

Motion had properly construed the claims-in-suit—neither of which it has done—H-W

Technology still pled facts sufficient under the FED. R. CIV. P. 8 pleading standard to allege that

each Defendant infringes in whole or in part. Defendants’ Motion must therefore be denied.




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               3.     Defendants’ Rely on Inapposite Case Law.

       Defendants’ Motion relies on case law inapposite to the principles for which the case law

is cited. First, Defendants’ Motion cites MuniAuction, Inc. v. Thompson Corp., 532 F.3d 1318

(Fed. Cir. 2008) (on appeal, reversed-in-part and vacated-in-part) and Golden Hour Data Sys.,

Inc. v. emsCharts Inc., No. 2:06-CV-381, 2009 WL 943273 (E.D. Tex. April 3, 2009) (granting

judgment as a matter of law after trial) for the proposition that a “claim based on joint

infringement requires proof that a single ‘mastermind’ defendant exercised such ‘control or

direction’ over the other participants that the mastermind can be found vicariously liable for the

conduct of the other entities.” Importantly, both MuniAuction and Golden Hour apply this joint

infringement standard to proving the merits of a patent infringement claim—not to a proper

consideration of pleading sufficiency under F ED. R. CIV. P. 12(b)(6). Id.

       Second, the cases Defendants rely on do not require a plaintiff to do more than make a

“short and plaint statement” of the claim. In fact, with the exception of Friday Group and

Global Patent Holdings, the cases cited in the Motion are not cases where the Court dismissed a

complaint under Rule 12(b)(6), much less dismissed the plaintiff’s complaint with prejudice.

Instead, they are cases deciding the merits of a joint infringement claim on motions for summary

judgment or judgment as a matter of law:

       •   BMC Resources, Inc. v. Paymentech, L.P., 498 F.3d 1373 (Fed. Cir. 2007) (on appeal,
           affirming grant of summary judgment);

       •   Cross Medical Products v. Medtronic Sofamor Danek, 424 F.3d 1293, 1311 (Fed. Cir.
           2005) (on appeal, affirming-in-part and reversing-in-part district court’s finding of
           infringement);

       •   MuniAuction, Inc. v. Thompson Corp., 532 F.3d 1318 (Fed. Cir. 2008) (on appeal,
           reversing judgment of patent infringement);

       •   Golden Hour Data Sys., Inc. v. emsCharts Inc., No. 2:06-CV-381, 2009 WL 943273
           (E.D. Tex. April 3, 2009) (granting judgment as a matter of law post-trial).


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       Third, even if one could construe Friday Group v. Ticketmaster, No. 4:08-CV-01203,

2008 WL 5233078 (E.D. Mo. Dec. 12, 2008) and Global Patent Holdings, LLC v. Panthers

BHRC, LLC, 586 F. Supp. 2d 1331 (S.D. Fl. 2008) as creating strict pleading requirements for a

joint infringement claim (as Defendants suggest), those cases are not binding on this court as

they issue from the Eastern District of Missouri and the Southern District of Florida,

respectively.

       Whether or not Defendants ultimately prevail against H-W Technology’ direct undivided

infringement claims after discovery and claim construction is not the proper domain of a Rule

12(b)(6) motion. The issue that Defendants’ Motion purports to place before this court is

whether H-W Technology has failed to state a claim upon which relief may be granted. As

illustrated above, the amended complaint properly states a claim upon which relief may be

granted under the FED. R. CIV. P. 8 pleading standard for both undivided and joint infringement

theories. Defendants’ Motion conflates the proper assertion of a claim and the subsequent

burden of proving the merits of that claim.

IV.    CONCLUSION

       For the foregoing reasons, Plaintiff H-W Technology, LLC, respectfully requests that the

Court deny Defendants’ motion to dismiss. In the alternative, if any portion of Defendants’

Motion persuades the Court, H-W Technology respectfully requests leave to amend its complaint

in accordance with the Court’s findings. Friday Group v. Ticketmaster, No. 4:08-CV-01203,

2008 WL 5233078, *14 (E.D. Mo. Dec. 12, 2008) (granting plaintiff leave to amend complaint);

accord Global Patent Holdings, LLC v. Panthers BHRC, LLC, 586 F. Supp. 2d 1331 (S.D. Fl.

2008) (plaintiff admitting at oral argument that a grant of leave to amend would be futile).




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                                        Respectfully Submitted,

            Dated: August 29, 2011      H-W TECHNOLOGY, L.C.

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                                    CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was filed electronically
in compliance with Local Rule CV-5(a). As such, this notice was served on all counsel who
have consented to electronic service. Local Rule CV-5(a)(3)(A). Pursuant to Fed. R. Civ. P.
5(d) and Local Rule CV-5(e), all other counsel of record not deemed to have consented to
electronic service were served with a true and correct copy of the foregoing by U.S. mail, on this
the 29th day of August, 2011.

                                                                   By: /s/ Winston O. Huff
	  




                                CERTIFICATE OF FILING

     I hereby certify that on August 29, 2011, I electronically filed the foregoing
document with the Clerk of the Court using the CM/ECF system.


                                                   Respectfully submitted,


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